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                                                                                 United States Bankruptcy Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                    IN THE UNITED STATES BANKRUPTCY COURT                            October 12, 2021
                      FOR THE SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                               HOUSTON DIVISION

IN RE:                         §
                               §                        CASE NO: 20-30336
MCDERMOTT INTERNATIONAL, INC., §
et al.,                        §                        CHAPTER 11
                               §
        Debtors.               §
                               §
MICHAEL VAN DEELEN,            §
                               §
        Plaintiff,             §
                               §
VS.                            §                        ADVERSARY NO. 20-3309
                               §
DAVID DICKSON, et al.,         §
                               §
        Defendants.            §

                                           ORDER
                      (Docket Nos. 4, 5, 7, 51, 54, 59, 60, 68, 72, 74, 75)

       Before the Court are multiple motions to dismiss, motions to remand, motions to strike,
motions for sanctions and related responses. After a careful review of the pleadings and multiple
hearings, the Court grants limited relief as set forth below.

                                   Main Case Background

       The Debtor and approximately 225 affiliates (the “Debtors”) filed chapter 11 cases on
January 21, 2020. [Docket No. 1, Case No. 20-30336]. The cases were filed as complex cases
pursuant to the Procedures for Complex Cases in the Southern District of Texas (the “Complex
Procedures”) [Docket No. 17, Case No. 20-30336]. By Order entered January 22, 2020, the cases
were jointly administered. [Docket No. 57, Case No. 20-30336].

        On January 22, 2020, the Debtors filed their proposed disclosure statement and plan of
reorganization. [Docket Nos. 4 and 5, Case No. 20-30336]. The Debtors filed their first amended
plan of reorganization later the same day (the “Plan”). [Docket No. 121, Case No. 20-30336]. At
the time of its filing, the Plan was supported by an overwhelming majority of the Debtors’
creditors. [Docket No. 27, Case No. 20-30336]. In accordance with the Complex Procedures, the
Debtors requested a consolidated hearing on the adequacy of the disclosure statement and
confirmation of the Plan. [Docket No. 27, Case No. 20-30336]. By Order entered January 23,
2020, the Court granted the request and set a joint hearing to consider final approval of the
adequacy of the disclosure statement and confirmation of the proposed Plan for March 12, 2020.
[Docket No. 160, Case No. 20-30336].

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       By handwritten letter docketed on January 28, 2020, Michael Van Deelen notified the
Court that he was an “equity holder and party in interest” and that he intended “to intervene in this
case and argue against the confirmation of McDermott’s bankruptcy plan.” [Docket No. 253, Case
No. 20-30336]. Mr. Van Deelen did not file a proof of claim in the case.

      On February 19, 2020, Mr. Van Deelen filed his motion for the appointment of a trustee or
examiner under 11 U.S.C. § 1104 and request for hearing. [Docket No. 436, Case No. 20-30336].
Mr. Van Deelen filed his amended motion for a trustee or an examiner on February 20, 2020.
[Docket No. 441, Case No. 20-3336].

        On February 27, 2020, Mr. Van Deelen filed his “Motion for an Order Sustaining Party in
Interest’s Opposition and Objection to Confirmation of Debtor’s Plan, Granting Party in Interest’s
Modified Plan, in Whole or in Part, and Ordering an Investigation Pursuant to 18 U.S.C. Section
158(d) and 18 U.S.C. Section 3057; Proposed Order Attached.” [Docket No. 509, Case No. 20-
30336]. In the motion, Mr. Van Deelen represented that he is “an expert financial analyst” and “a
competent pro se litigant.” [Docket No. 509, Case No. 20-30336]. Included in the pleading is a
list of Mr. Van Deelen’s litigation successes. [Docket No. 509, Case No. 20-30336].

        On February 27, 2020, Mr. Van Deelen also filed his objection to confirmation of the
Debtors’ Plan. [Docket No. 510, Case No. 20-30336]. The pleading is substantially, if not
completely, a duplicate of Docket No. 509. Concurrent with the filing, Mr. Van Deelen also
submitted his witness and exhibit list. [Docket No. 511, Case No. 20-30336]. Mr. Van Deelen
listed himself both as a fact witness and an expert witness on the Debtors’ financial operations.
[Docket No. 511, Case No. 20-30336]. On March 2, 2020, Mr. Van Deelen filed his own expert
report. [Docket No. 527, Case No. 20-30336].

         On March 4, 2020, Mr. Van Deelen filed a motion to continue the confirmation hearing.
[Docket No. 557, Case No. 20-30336]. Mr. Van Deelen’s stated basis for the request was the
requirement of proof that the purchaser of the Debtors’ Lummus Technology business had the
financial ability to complete its purchase. [Docket No. 557, Case No. 20-30336]. Mr. Van Deelen
filed a separate hearing request on March 5, 2020. [Docket No. 559, Case No. 20-30336]. After
reviewing the pleadings, the Court scheduled a hearing on the motion for continuance for March
9, 2020. [Unnumbered Docket Entry on March 5, 2020, Case No. 20-30336]. The Debtors filed
their response on March 8, 2020. [Docket No. 582, Case No. 20-30336].

        On March 9, 2020, the Court convened a hearing to consider Mr. Van Deelen’s request for
a continuance. [Unnumbered Docket Entry on March 9, 2020, Case No. 20-30336]. After
considering the arguments of the parties, the Court denied the motion by order entered the same
day. [Docket No. 587, Case No. 20-30336]; [Transcript at Docket No. 664]. In its order, the Court
stated that it would “consider the issues raised by Mr. Van Deelen in the motion as part of his
objection to confirmation of the Debtors’ proposed plan.” [Docket No. 587, Case No. 20-30336].

        The Debtors subsequently resolved substantially all outstanding confirmation objections
other than the objections raised by Mr. Van Deelen. These resolutions and other non-substantive
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amendments were embodied in the Second Amended Chapter 11 Plan filed on March 11, 2020
(the “Amended Plan”). [Docket No. 620, Case No. 20-30336].

        On March 12, 2020, the Court convened a hearing to consider final approval of the
adequacy of the disclosure statement and confirmation of the proposed Amended Plan.
[Unnumbered Docket Entry on March 12, 2020, Case No. 20-30336]. After considering the
evidence and arguments of the parties, the Court approved the disclosure statement on a final basis
and confirmed the Debtors’ Amended Plan. [Docket No. 684, Case No. 20-30336]. During the
hearing, Mr. Van Deelen became combative and threatened to sue Debtors’ counsel for having
threatened him and the Court for violating his civil rights. [Transcript 3/12/2020, Docket No. 690,
pages 172-73]. The Court specifically found Mr. Van Deelen’s objection to be frivolous.
[Transcript 3/12/2020, Docket No. 690, page 180].

        On March 17, 2020, the Debtors filed their motion seeking to have Mr. Van Deelen appear
before the Court and show cause why he should not be held in contempt for threatening behavior
and inappropriate conduct. [Docket No. 694, Case No. 20-30336]. Mr. Van Deelen filed his
response denying the substance of the Debtors’ motion on March 18, 2020. [Docket No. 701, Case
No. 20-30336]. The Debtors subsequently filed an affidavit of a witness confirming the events set
forth in the Debtors’ motion. [Docket No. 706, Case No. 20-30336].

         By Order entered March 23, 2020, the Court (i) prohibited Mr. Van Deelen from contacting
the Court’s staff; (ii) required that any communication to the Court be made in writing and filed
with the Clerk of the Court; (iii) prohibited Mr. Van Deelen from contacting Joshua Sussberg or
any member of his family; and (iv) barred Mr. Van Deelen from entering the federal courthouse
unless escorted by a court security officer. [Docket No. 719, Case No. 20-30336]. In entering this
relief, the Court noted Mr. Van Deelen’s propensity to make false statements and determined that
Mr. Van Deelen posed a legitimate risk to the safety of courthouse staff and litigants that oppose
his position. [Docket No. 719, Case No. 20-30336].

      Mr. Van Deelen filed a petition for a writ of mandamus with the Fifth Circuit Court of
Appeals on June 2, 2020. [Case No. 20-20286, USCA]. The petition was denied by order entered
March 12, 2021. [Case No. 20-20286, USCA].

                                  The Adversary Proceeding

        On June 23, 2020, Mr. Van Deelen sued David Dickson, Stuart Spence and Scott Lamb—
each a current or former officer of the Debtors—as well as 10 unknown John/Jane Does in the
284th Judicial District Court of Montgomery County, Texas (the “State Court Lawsuit”). [Docket
No. 1]. The petition asserts various claims related to the loss of value of Mr. Van Deelen’s
common shares in the Debtors. The defendants removed the State Court Lawsuit to this Court on
July 17, 2020. [Docket No. 1]. In the Notice of Removal, the defendants stated that removal was
proper as the “adjudication of the claims requires interpretation and enforcement of this Court’s
Confirmation Order, which releases and exculpates Defendants from certain claims that have been
brought.” [Docket No. 1].



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        Mr. Van Deelen filed his motion to remand on July 23, 2020. [Docket No. 4]. In the
motion, Mr. Van Deelen asserted that the Court lacked jurisdiction to adjudicate the asserted
claims. [Docket No. 4]. Mr. Van Deelen also asserted that mandatory and permissive abstention
applied. [Docket No. 4]. The Defendants responded on August 13, 2020, asserting that the Court
had jurisdiction and that abstention was inappropriate under the circumstances. [Docket No. 11].

        On July 25, 2020, the Defendants filed their motion to dismiss Mr. Van Deelen’s petition.
[Docket No. 5]. In their motion, the Defendants asserted that the claims asserted by Mr. Van
Deelen were covered by the Amended Plan’s exculpation and release provisions.1 [Docket No. 5].
Mr. Van Deelen filed his response to the motion to dismiss on August 12, 2020. [Docket No. 10].
In his response, Mr. Van Deelen argued that (i) no further proceedings should be held until the
Fifth Circuit ruled on his writ of mandamus to remove the undersigned as the presiding judge; (ii)
the case should be remanded before the motion to dismiss could be considered; (iii) the Court
lacked jurisdiction to consider the motion to dismiss; (iv) mandatory abstention under § 1334(c)(2)
applied; and (v) the Amended Plan’s exculpation provisions were inapplicable. [Docket No. 10].
        Mr. Van Deelen filed a motion for entry of a default on September 24, 2020. [Docket No.
21]. A “corrected” version of the motion was filed on September 25, 2020. [Docket No. 22]. The
Defendants filed their response on October 7, 2020, noting that their motion to dismiss remained
pending. [Docket No. 23]. See FED. R. BANKR. P. 7012. Mr. Van Deelen filed his reply and motion
for entry of a default judgment on October 8, 2020. [Docket No. 26].
         On March 10, 2021, the Court held a scheduling conference. [Docket No. 43]. At the
beginning of the hearing, the Court advised Mr. Van Deelen that his petition contained potential
(i) claims released under the Amended Plan; (ii) derivative claims owned by the bankruptcy estate;
and (iii) direct claims. [Audio at Docket No. 46]. The Court gave Mr. Van Deelen the opportunity
to either proceed with his motion to remand or to amend his petition. [Audio at Docket No. 46].
After much discussion of direct versus derivative claims, Mr. Van Deelen elected to amend his
petition. [Audio at Docket No. 46].
        Mr. Van Deelen filed his amended petition on April 8, 2021. [Docket No. 50]. In his
amended petition, Mr. Van Deelen asserted that this Court instructed him to file an amended
petition containing only state law claims. [Docket No. 50]. This statement was false as the Court
issued no such instruction. [Audio at Docket No. 46]. In his amended petition, Mr. Van Deelen
continued to assert claims against Messrs. Lamb, Dickson, Spence and 10 unknown John/Jane
Does for fraud and negligent misrepresentation related to events preceding and after the Debtors’
bankruptcy filing. [Docket No. 50]. Mr. Van Deelen’s damage model continued to be based on
the cancellation of the Debtors’ common shares under the confirmed Amended Plan. [Docket No.
50].

        On May 3, 2021, the defendants filed their amended motion to dismiss. [Docket No. 51].
In the motion, the defendants asserted that (i) the negligent misrepresentation claim was barred by
the Court’s confirmation order; and (ii) both claims failed to satisfy the heightened pleading
requirements required by FED. R. CIV. P. 9(b). [Docket No. 51]. Mr. Van Deelen filed his response

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   The Defendants initially asserted that Mr. Van Deelen had not properly opted out of the Amended Plan’s third-
party release provisions. The Defendants subsequently acknowledged that Mr. Van Deelen had properly executed
and delivered the required opt-out form. [Audio at Docket No. 46].
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to the motion to dismiss on May 20, 2021, asserting (i) that he was not subject to either the
exculpation or release provisions under the Amended Plan; (ii) the Court must first consider his
motion to remand; (iii) the Court lacked jurisdiction to consider the motion to dismiss; and (iv)
abstention was applicable. [Docket No. 52]. The defendants filed their reply on June 3, 2021,
arguing that (i) the opt-out mechanism under the Amended Plan applied only to the third-party
release provision—not the exculpation; (ii) the Court had jurisdiction to enforce its confirmation
order; (iii) abstention was inappropriate; and (iv) the fraud claim was not asserted with sufficient
particularity. [Docket No. 53].

        On June 4, 2021, Mr. Van Deelen filed his emergency motion to amend his petition to
remove the claim for negligent misrepresentation from his first amended petition citing FED. R.
CIV. P. 15. [Docket No. 54]. On June 7, 2021, the Court convened a second hearing on the status
of Mr. Van Deelen’s petition and all other pending matters. [Docket No. 55]. After a lengthy
discussion, the Court provided Mr. Van Deelen another opportunity to file an amended petition.
[Docket No. 55].

        On June 18, 2021, Mr. Van Deelen filed his third amended petition. [Docket No. 57]. In
this version of his petition, Mr. Van Deelen deleted the negligent misrepresentation claim, but
continued to assert fraud claims against Messrs. Lamb, Dickson, Spence and 10 unknown
John/Jane Does. [Docket No. 57]. In addition, Mr. Van Deelen added assault and fraud claims
against the Debtors’ former lead counsel, Joshua Sussberg. [Docket No. 57]. The assault claims
concerned events that supposedly took place outside the undersigned’s courtroom just after the
confirmation hearing. [Docket No. 57]. The fraud claim focuses on Mr. Sussberg’s purported pre-
petition involvement in the concealment of financial losses by the Debtors and the decision to file
bankruptcy. [Docket No. 57].

       On July 12, 2021, Mr. Sussberg filed his motion to dismiss and request for sanctions.
[Docket No. 59]. On the same day, Messrs. Lamb, Dickson and Spence likewise filed a motion to
dismiss the third amended petition. [Docket No. 60]. Mr. Van Deelen filed his responses on July
26, 2021. [Docket Nos. 62 and 63].

       On August 9, 2021, the Court conducted a hearing on all pending matters. [Unnumbered
Docket Entry after Docket No. 70]. At the conclusion of the hearing, the Court took the matter
under advisement. [Unnumbered Docket Entry after Docket No. 70].

        On August 13, 2021, Mr. Sussberg filed his supplemental motion for sanctions. [Docket
No. 72]. In his motion, Mr. Sussberg attached an email from Mr. Van Deelen addressed to David
Beck, counsel for Mr. Sussberg, in which Mr. Van Deelen threatened to sue Mr. Sussberg, Mr.
Beck and an unnamed process server for serving a subpoena upon Mr. Van Deelen at his home in
anticipation of the August 9, 2021, hearing. [Docket No. 72]. Mr. Sussberg requested that the
Court determine Mr. Van Deelen to be a vexatious litigant and that Mr. Van Deelen be prohibited
from filing any future lawsuits related to these bankruptcy proceedings without first obtaining
court approval. [Docket No. 72].

       On August 16, 2021, Mr. Van Deelen filed his (i) response to the supplemental motion for
sanctions; (ii) motion to strike the supplemental motion for sanctions; and (iii) motion for sanctions

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against David Beck—Mr. Sussberg’s counsel. [Docket No. 73]. Concurrent with the response,
Mr. Van Deelen also filed separate motions (i) to strike the supplemental motion for sanctions
[Docket No. 74]; and (ii) to dismiss all claims against Mr. Sussberg pursuant to FED. R. CIV. P.
41(a)(2) due to Mr. Sussberg’s purported medical condition. [Docket No. 75]. Mr. Sussberg
responded on August 23, 2021. [Docket No. 77].

       Having carefully evaluated the pleadings submitted by the parties and having conducted
multiple hearings in this adversary proceeding, the Court determines that no further hearings are
needed or appropriate.

                                            Jurisdiction

        Bankruptcy jurisdiction is established by 28 U.S.C. § 1334. Section 1334 grants
jurisdiction to the district courts to preside over all cases filed under title 11 as well as all civil
proceedings arising under title 11 or related to cases under title 11. See 28 U.S.C. § 1334(a) and
(b). In turn, district courts may refer “any or all cases under title 11 and any or all proceedings
arising under title 11 or arising in or related to a case under title 11” to the bankruptcy courts. 28
U.S.C. § 157(a). Section 157(b)(1) goes on to provide that “[b]ankruptcy judges may hear and
determine all cases under title 11 and all core proceedings arising under title 11, or arising in a
case under title 11, referred under subsection (a) . . . and may enter appropriate orders and
judgments, subject to review under section 158 of this title.”

        For jurisdictional purposes, it is not necessary to distinguish whether a matter “arises
under”, “arises in” or is “related to.” Wood v. Wood (In re Wood), 825 F.2d 90, 93 (5th Cir. 1987).
The Court need only to determine if the matter is at least “related to” the pending bankruptcy case
to determine if jurisdiction exists. Id. Proceedings are “related to” if the outcome “could
conceivably have any effect on the estate being administered in bankruptcy.” Bass v. Denney (In
re Bass), 171 F.3d, 1016, 1022 (5th Cir. 1999). A “conceivable effect” is a proceeding that “could
alter the Debtor’s rights, liabilities, options or freedom of action (either positively or negatively)
and which in any way impacts upon the handling and administration of the bankruptcy estate.”
Fire Eagle, LLC v. Bischoff (In re Spillman Dev. Group, Ltd.), 710 F.3d 299, 304 (5th Cir. 2013)
(quoting FDIC V. Majestic Energy Corp. (In re Majestic Energy Corp.), 835F.2d 87, 90 (5th Cir.
1988)).

       The Court finds that it has jurisdiction over these contested matters pursuant to 28 U.S.C.
§ 1334 and the Court’s inherent authority to enforce its own orders. These contested matters are
core proceedings under 28 U.S.C. §§ 157(b)(2) as they related to the enforcement of the Court’s
confirmation order and interpretation of a confirmed plan. See In re Nat’l Gypsum Co., 118 F.3d
1056, 1064 (5th Cir. 1997). The Court has constitutional authority to enter a final order in these
contested matters. Stern v. Marshall, 564 U.S. 462 (2011).




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                                             Analysis

The Third Amended Petition

       In his third amended petition, Mr. Van Deelen asserts that each of the defendants “made or
caused to be made material representations to the plaintiff about McDermott International, its
performance, its financial condition and its outlook which were false.” [Docket No. 57]. Further,
Mr. Van Deelen asserts that “[t]he defendants concealed adverse material facts from plaintiff to
prevent plaintiff from knowing McDermott International’s true financial condition and outlook.”
[Docket No. 57]. In the light most favorable to Mr. Van Deelen, these alleged misrepresentations,
omissions and the corresponding timeline consist of the following:

         Date Issued         Author/Declarant       Communication
         03/22/2019          Debtors                Mission Statement published on the
                                                    Debtors’ website.

         04/29/2019          Debtors                2019 First Quarter Report published on the
                                                    Debtors’ website.

         05/02/2019          Debtors                Annual Meeting presentation posted to the
                                                    Debtors’ website.

         07/29/2019          Unidentified/          2019 Second Quarter Report published on
                             Dickson                the Debtors’ website.

         08/02/2019          Van Deelen purchases 22,000 shares despite sharp market price
                             decline.


         Mid-Sept. 2019      Unknown                Failure to tell public that decision had been
                                                    made to file bankruptcy

         09-18-2019          Debtors                Press release that advisors had been
                                                    engaged. (Didn’t disclose preparation for
                                                    bankruptcy).

         09-20-2019          Debtors                Press release that investment bank was
                                                    engaged to market the Lumus Technology
                                                    division. (Didn’t disclose preparation for
                                                    bankruptcy).

         10/21/2019          Debtors/               Press release regarding securing additional
                             Dickson                financing (didn’t disclose that financing was

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                                                      just interim while bankruptcy was being
                                                      prepared).

       11/04/2019              Debtors                2019 Third Quarter Report published on the
                                                      Debtors’ website reflecting large loss (didn’t
                                                      previously issue release that loss was
                                                      imminent).

       11/04/2019              Debtors                10-Q disclosing SEC investigation (didn’t
                                                       notify earlier and statement that chapter 11
                                                      might occur).

       11/08/2019-             Van Deelen purchases additional 8,000 shares
       12/26/2019

       12/02/2019              Debtors                Press release regarding access to $350
                                                      million in additional financing (failed to
                                                      disclose that lenders did not expect to
                                                      provide additional financing outside of
                                                      chapter 11).

       01/21/2020              Debtors                Formal announcement of chapter 11 (failed
                                                      to previously announce that equity would be
                                                      cancelled).

        Notably, Mr. Van Deelen’s allegations all concern the Debtors’ failure to inform him and
“the investing public” about the Debtors’ financial status and the potential for a chapter 11 filing.
Mr. Van Deelen states that all misrepresentations were made by the defendants outside the scope
and course of their employment, yet Mr. Van Deelen fails to make any allegation that any specific
individual defendant made a specific misrepresentation to him at any particular time. To the
contrary, the source of all of the identified communications referenced in the third amended
petition was the Debtors.

The Plan and Confirmation Order

        Under the confirmed Amended Plan, the Debtors released all direct and derivative claims
held by the bankruptcy estate. [Docket No. 684, attached plan, Art. VIII.C, Case No. 20-30336].
This release encompasses all claims against management arising in connection with their
employment. [Docket No. 684, attached plan, Art. VIII.C.1., Case No. 20-30336]. In addition, the
Amended Plan contains an exculpation provision that releases all claims arising out of or related
to the bankruptcy process. [Docket No. 684, attached plan. Art. VIII.E, Case No. 20-30336].
While the Amended Plan also contains a third-party release provision in Art. VIII.D, Mr. Van
Deelen exercised his opt-out right. [Docket No. 52-1]. Finally, the Amended Plan provides an
injunction that prohibits the initiation or continuation of any litigation for any released or
exculpated claim. [Docket No. 684, attached plan, Art. VIII.F, Case No. 20-30336].
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Motion to Amend (Docket No. 54)

        On June 4, 2021, Mr. Van Deelen filed his emergency motion to amend his petition to
remove the claim for negligent misrepresentation. [Docket No. 54]. During the June 7, 2021
hearing, the Court gave Mr. Van Deelen the opportunity to file an amended petition thereby
implicitly granting Mr. Van Deelen’s request. [Audio at Docket No. 56] To avoid any confusion,
the motion to amend is granted.

Motion to Take Judicial Notice (Docket No. 68)

        By motion filed August 6, 2021, Mr. Sussberg requested that the Court take judicial notice
of certain pleadings filed in the underlying bankruptcy proceeding as well as certain decisions
entered by other courts regarding Mr. Van Deelen’s litigation tactics. With respect to the request
to take judicial notice of the identified matters in the underlying bankruptcy case, the motion is
granted. With respect to the request to take judicial notice of decisions entered by other courts,
the motion is denied. The Court was previously aware of the identified decisions. The Court is
also sufficiently familiar with Mr. Van Deelen tactics in this bankruptcy case. [Docket No. 719,
Case No. 20-30336]. The documents for which judicial notice is requested, however, shall be part
of the record and available to any reviewing court.

Motion to Strike and Motion for Sanctions (Docket No. 74)

        On August 16, 2021, Mr. Van Deelen filed a pleading styled as (i) a response to Mr.
Sussberg supplemental sanctions motion; (ii) a motion to strike Mr. Sussberg’s supplemental
sanctions motion for failure to meet Local Rule 9013-1(b); and (iii) a request for sanctions against
David Beck, counsel for Mr. Sussberg. The pleading contains a series of random arguments and
borders on the frivolous. The motion to strike is denied as Mr. Van Deelen failed to include the
required language in his pleadings on multiple occasions and no prejudice was shown. The motion
for sanctions against Mr. Beck for allegedly deceiving the Court has no legal or factual basis as
written and is denied. To the contrary, the Court finds Mr. Beck’s conduct before the Court to
have been exemplary and in accordance with all applicable rules and ethical standards.

Motion to Dismiss Joshua Sussberg (59)

       In his third amended petition, Mr. Van Deelen asserts, for the first time, that Mr. Sussberg
made fraudulent misrepresentations with respect to the Debtors’ financial status. [Docket No. 57].
The Court can only glean from the third amended petition that these purported misrepresentations
were made in the course of Mr. Sussberg providing legal services to the Debtors. The third
amended petition identifies no legal duty owed by Mr. Sussberg to make any disclosure to Mr.
Van Deelen nor does it identify any statement made or adopted by Mr. Sussberg that constituted a
misrepresentation.

       The third amended petition also asserts claims for an alleged altercation with Mr. Sussberg
that Mr. Van Deelen asserts took place just outside the courtroom after the confirmation hearing.


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These asserted claims consist primarily of a listing of state law tort claim elements along with
unsupported conclusions.

        Although motions to dismiss under Rule 12(b)(6) are generally disfavored, a court must
grant a motion to dismiss if the complaint fails to state a “plausible claim.” Ashcroft v. Iqbal, 556
U.S. 662, 678 (2009); Lowrey v. Tex. A&M Univ. Sys., 117 F.3d 242, 247 (5th Cir. 1997).
Plausibility requires the plaintiff to plead “factual content that allows the court to draw the
reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at
678. “Threadbare recitals of the elements of a cause of action, supported by mere conclusory
statements, do not suffice,” and “formulaic recitation of the elements of a cause of action will not
do.” Id.; Twombly, 550 U.S. at 555. Allegations made in support of a claim that “stop short of the
line between possibility and plausibility” are insufficient to prevent dismissal. Bell Atl. Corp. v.
Twombly, 550 U.S. 544, 557 (2007).

        With respect to the asserted fraud claim against Mr. Sussberg, there is simply no legal or
factual basis which could support such a claim. There are no facts to answer the “who, what,
when, where and why” requirements of FED. R. CIV. P. 9. The Court further questions the
motivation behind the late inclusion by Mr. Van Deelen of Mr. Sussberg into his third amended
petition. The Court finds that the assertion of a fraud claim against Mr. Sussberg violates FED. R.
BANKR. P. 9011(b). The motion to dismiss the fraud claim is granted with prejudice.

        With respect to the “assault” claims, the Court takes notice of its prior findings regarding
Mr. Van Deelen’s veracity [Docket No. 719, Case No. 20-30336] as well as the attached affidavits
to the motion to dismiss. [Docket No. 59-1-3]. The Court has further considered Mr. Van Deelen’s
subsequent conduct and filings, including his failure to make an incident report when invited to do
so by courthouse security. When combined with the scant recitals of the elements of state law tort
claims, the Court grants the motion to dismiss the “assault-related” claims with prejudice.

Motion to Dismiss Joshua Sussberg (Docket No. 75)

        On August 16, 2021, Mr. Van Deelen filed a motion to dismiss Mr. Sussberg under FED.
R. CIV. P. 41(a)(2). In the motion. Mr. Van Deelen seeks the dismissal of claims against Mr.
Sussberg based on his belief that Mr. Sussberg had cancer at the time of the confirmation hearing.
Cancer is a serious disease and the second-leading cause of death in the world.
https://www.mayoclinic.org/diseases-conditions/cancer/symptoms-causes/syc-20370588#. The
Court accepts Mr. Van Deelen’s gesture regardless of motive. Under FED. R. CIV. P. 41(a)(2), “an
action may be dismissed at the plaintiff’s request only by court order, on terms that the court
considers proper.” As alternative relief, the Court grants Mr. Van Deelen’s motion and dismisses
all claims against Mr. Sussberg in the third amended petition with prejudice.

Motion to Dismiss Lamb, Dickson and Spence (Docket Nos. 5, 51 and 60)

        With each version of the petition filed by Mr. Van Deelen, Messrs. Lamb, Dickson and
Spence filed a motion to dismiss. As the third amended petition dropped many of the original
claims, the Court will address the arguments raised in each of the motions only as to the remaining
fraud claim asserted by Mr. Van Deelen. The movants’ first argument concerns the failure of the

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third amended petition to set forth the specifics of the false representations that form the basis of
the claim. The Court agrees. As set forth above, Mr. Van Deelen fails to identify any specific
statement, omission or adoption by a specific defendant that forms the basis of the asserted fraud
claim. See Southland Sec. Corp. v. INSpire Ins. Solutions, Inc., 365 F.3d 353, 373-74 (5th Cir.
2004) (holding that the pleading should “point to specific interactions between the [defendant] and
the [third party] which allegedly gave rise to the entanglement [between the defendant’s and third
party’s statements],” and state the dates on which these interactions occurred); Ingalls v.
Edgewater Private Equity Fund III, L.P., No. H-05-1392, 2005 WL 2647962, at *5 (S.D. Tex. Oct.
17, 2005) (group pleading fails to satisfy the requirement of the “who, what, when, where and
why” requirements to assert a fraud claim).

        More problematic is Mr. Van Deelen’s attempt to distance himself from the McDermott
bankruptcy proceeding and the releases/exculpations contained in the Amended Plan. To avoid
their impact, Mr. Van Deelen asserts that none of the identified statements were made in the course
and scope of the defendants’ employment by the Debtors. Such an assertion belies common sense
as each of the communications identified in the third amended petition is a corporate statement on
behalf of the Debtors.

        Second, to the extent that the third amended petition relies on the allegation of an omission
as the basis for the fraud claim, Mr. Van Deelen fails to identify the existence and nature of any
legal duty that would require Messrs. Lamb, Dickson or Spence to make such a disclosure. See
Bradford v. Vento, 48 S.W.3d 749, 755 (Tex. 2001) (“[a] failure to disclose information does not
constitute fraud unless there is a duty to disclose the information.”). Officers and directors of a
corporation owe no formal fiduciary duty to individual shareholders. Ritchie v. Rupe, 443 S.W.3d
856, 890 & n.62 (Tex. 2014).

         Mr. Van Deelen has had multiple opportunities to assert any valid claim that he rightfully
possesses. Any claim that he may have had against the Debtors was lost when he failed to timely
file a proof of claim. Mr. Van Deelen voluntarily chose to only assert only a proof of interest as a
shareholder. The movants’ motion is granted and all claims against Messrs. Lamb, Dickson and
Spence are dismissed with prejudice.

Motion to Remand (Docket Nos. 4 and 7)

        Mr. Van Deelen seeks the remand of this adversary proceeding to Montgomery County
state court. As no claims remain, there is nothing left to remand. In an abundance of caution,
however, the Court will address Mr. Van Deelen’s request as if some claim remained.

         Mr. Van Deelen first asserts that this Court lacks jurisdiction over this adversary
proceeding. This adversary proceeding touches and concerns the sanctity of this Court’s
confirmation order and implementation of the Amended Plan. As set forth above, the Court has
the jurisdiction to enforce its own orders and the Amended Plan. Moreover, the Court finds that
it has the requisite jurisdiction applying the Craig’s Stores factors of (1) the claims primarily arose
from pre-confirmation relations between the parties; (2) any claims or antagonisms were pending
between the parties on the date of plan confirmation; and (3) any facts or law deriving from the
bankruptcy are necessary to the claims. In re Craig’s Stores of Texas, Inc., 266 F.3d 388, 390 (5th

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Cir. 2001); In re Blast Energy Servs., Inc., 396 B.R. 676, 684 (Bankr. S.D. Tex. 2008); In re MSB
Energy, Inc., 438 B.R. 571, 586 (Bankr. S.D. Tex. 2010).

        Mr. Van Deelen next asserts that mandatory abstention under 28 U.S.C. § 1334(c)(2)
applies to this adversary proceeding. The party seeking mandatory abstention must show that: (1)
the claim has no independent basis for federal jurisdiction, other than section 1334(b); (2) the claim
is a non-core proceeding; (3) an action has been commenced in state court; and (4) the action could
be adjudicated timely in state court. In re TXNB Internal Case, 483 F.3d 292, 300 (5th Cir.), cert.
denied, 552 U.S. 1022, 128 S. Ct. 613 (2007). As discussed above, this adversary proceeding is a
core proceeding as it involves (i) the interpretation and enforcement of the Amended Plan and
confirmation order; (ii) the enforcement of the Court’s injunction contained in the Amended Plan;
and (iii) matters that occurred before the Court in connection with the underlying bankruptcy
proceeding. Moreover, in consideration of the orders issued by the Texas Supreme Court
regarding the status of state court proceedings and the resulting backlog of priority criminal cases,
no genuine basis exists to suggest that adjudication in state court would occur any time soon. In
contrast, this Court has conducted its docket each day throughout the pandemic, continues to do
so, and has no backlog. The motion for mandatory abstention is denied.

        Mr. Van Deelen also requests the Court to abstain from this adversary proceeding under
the permissive abstention provisions of 28 U.S.C. § 1334(c)(1). Section 1334(c)(1) provides that
a court may abstain from hearing a matter if such abstention is “in the interest of justice, or in the
interest of comity with the State courts or respect for State law.” See Gober v. Terra + Corp. (In
re Gober), 100 F.3d 1195, 1206 (5th Cir. 1996). Mr. Van Deelen argues that the existence of his
writ of mandamus to the Fifth Circuit Court of Appeals serves as a basis for abstention. As
previously noted, the Fifth Circuit has denied the writ.

         When evaluating a request for permissive abstention, courts have developed the following
list of nonexclusive factors to consider: (i) the effect or lack thereof on the efficient administration
of the estate; (ii) extent to which state law issues predominate over bankruptcy issues; (iii) difficult
or unsettled nature of applicable law; (iv) presence of related proceeding commenced in state court
or other non-bankruptcy proceeding; (v) jurisdictional basis, if any, other than § 1334; (vi) degree
of relatedness or remoteness of proceeding to main bankruptcy case; (vii) the substance rather than
the form of an asserted core proceeding; (viii) the feasibility of severing state law claims from core
bankruptcy matters to allow judgments to be entered in state court with enforcement left to the
bankruptcy court; (ix) the burden of the bankruptcy docket; (x) the likelihood that commencement
of the proceeding in bankruptcy court involves forum shopping by one of the parties; (xi) the
existence of a right to a jury trial; (xii) the presence in the proceeding of non-debtor parties; (xiii)
comity; and (xiv) the possibility of prejudice to other parties in the action. J.T. Thorpe Co., No.
H-02-4598, 2003 U.S. Dist. LEXIS 26016, at *23. The only factor addressed by Mr. Van Deelen
in his motion is that of forum shopping. As this Court is the only proper court to enforce its
injunction preventing the assertion of released claims, this argument necessarily fails. An
evaluation of the other Thorpe factors suggests that no basis exists for permissive abstention. The
motion is denied.




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Sanctions Against Van Deelen (59 and 72)

         Mr. Sussberg seeks sanctions against Mr. Van Deelen for his vexatious conduct in this
adversary proceeding under the Court’s inherent authority to oversee the conduct of litigants that
appear before it and 11 U.S.C. § 105. In re Ruth, 473 B.R. 152, 166 (Bankr. S.D. Tex. 2012)
(citing Chambers v. NASCO, Inc., 501 U.S. 32 (1991)). Mr. Sussberg asserts that Mr. Van Deelen
is entitled no special deference as a pro se litigant due to his extensive litigation experience as
chronicled by Mr. Sussberg. On this point, the Court agrees. Mr. Van Deelen employs a designed,
deliberate, and practiced litigation strategy free from the confines of honesty and ethics that bind
attorneys that appear before the Court. No special consideration as a pro se litigant is deserved or
given.

        The sanction sought by Mr. Sussberg is that of a pre-filing injunction against Mr. Van
Deelen. When imposing sanctions, the Court recognizes that it must impose the least onerous
sanction to address the situation. In re Parsley, 384 B.R. 138, 182 (Bankr. S.D. Tex. 2008). The
McDermott bankruptcy case is over. The Court’s confirmation order is final and binding. In the
hope that common sense will prevail, the Court denies the motions for sanctions without prejudice.
Any further state court litigation brought by Mr. Van Deelen regarding McDermott or these
proceedings should be removed immediately to this Court. If such litigation is initiated and the
current pattern of behavior continues, the Court will revisit the issue of compensatory and coercive
sanctions necessary to protect the sanctity of the Court’s orders, the bankruptcy process, and the
rule of law.

        This adversary proceeding is dismissed as set forth above. The Clerk is directed to close
this adversary proceeding.

          All other relief not specifically granted is denied.

           SIGNED: October 12, 2021.



                                                       __________________________________
                                                       DAVID R. JONES
                                                       UNITED STATES BANKRUPTCY JUDGE




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